Case 2:05-cr-20250-.]P|\/| Document 51 Filed 08/10/05 Page 1 of 2 Page|D 58

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IN THE UNITED sTATEs DISTRICT coURT
FOR THE WESTERN DISTRICT orr TENNESSEE 05 AUG t 0 AH |0= “5
WESTERN DtvlsIoN `

 

UNITED STATES OF AMERICA

 

 

 

v.
STEPHANIE LYONS 05cr20250~3-M1
ORDER ON ARRAIGNMENT
This cause came to be heard on 42 iii ¢`¢ §§ m the United States Attorney
for this district appeared on behalf of the gov ent, an the defendant appeared in person and with
counsel:

 

NAME… who is Retained/Appointed.
_¢."_'_-_\_

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

l/'Hi:defendant, who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
UNITED STATES MAGISTRATE ]UDGE

CI'IARGES - 18:1343 and 2
FRAUD BY WIRE, RADIO, OR TELEVISION

Attorney assigned to Case: C. McMullen

Age: _31

Thts document entered on the docket sheet in eq`mp|tanee

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UNITED sTATE DRISTIC COURT - WETERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 2:05-CR-20250 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

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Honorable J on l\/lcCalla
US DISTRICT COURT

